Case 1:20-cv-03182-CMA-MEH Document 10 Filed 11/10/20 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03182-MEH

  ARIN VANDERHEYDEN,

         Plaintiff,

  v.

  STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

        Defendant.
  ______________________________________________________________________________

                                    MINUTE ORDER
  ______________________________________________________________________________
  Entered by Michael E. Hegarty, United States Magistrate Judge, on November 10, 2020.

         Before the Court is Defendant’s Response to Order to Show Cause (ECF 9). In light of the
  information provided by Defendant, this Court’s Order (ECF 7) is discharged.

         The above-captioned case has been directly assigned to Magistrate Judge Michael E.
  Hegarty pursuant to D.C. Colo. LCivR 40.1(c). The parties shall complete and file the Magistrate
  Judge Consent Form (ECF 6) on or before November 25, 2020.

         It is ORDERED that the Fed. R. Civ. P. 16(b) Scheduling Conference shall be held on
  December 15, 2020, at 10:30 a.m. in Courtroom A-501, on the fifth floor of the Alfred A. Arraj
  United States Courthouse located at 901 19th Street, Denver, Colorado.

         It is further ORDERED that Defendant shall notify all parties who have not entered an
  appearance of the date and time of the Scheduling Conference.

         If this date is not convenient, the parties shall confer and contact my Chambers by email to
  obtain an alternate date. All parties must be copied on the email if they agree to change the
  conference date; otherwise, any party seeking to change the conference date must file a motion.
  Absent exceptional circumstances, no request for rescheduling will be entertained unless made
  five business days prior to the date of the conference.

          The litigants (counsel and parties) and the public may appear at the conference either in
  person or by telephone. Anyone appearing in person must comply with General Order 2020-14
  governing Court Operations During the COVID-19 Pandemic, which may be accessed at
  www.cod.uscourts.gov. Anyone appearing by telephone shall call the following conference line
  at the appointed time:
Case 1:20-cv-03182-CMA-MEH Document 10 Filed 11/10/20 USDC Colorado Page 2 of 3




  Number:      888-278-0296
  Access code: 8212991#

         Please remember that, when you call in, you may be entering a proceeding already in
  progress for a different case; therefore, as you would if you were present in the courtroom, please
  ensure silence until your case is called.

          It is further ORDERED that counsel for the parties and any unrepresented non-prisoner
  parties in this case are to hold a meeting in accordance with Fed. R. Civ. P. 26(f) on or before
  November 24, 2020 and jointly prepare a proposed Scheduling Order. Pursuant to Fed. R. Civ.
  P. 26(d), only requests pursuant to Fed. R. Civ. P. 34 may be submitted before the Rule 26(f)
  meeting, unless otherwise ordered or directed by the Court. Pursuant to Fed. R. Civ. P.
  34(b)(2)(A), responses to such discovery requests must be submitted no later than 30 days after
  the Rule 26(f) meeting, unless the parties stipulate or the Court orders otherwise.

        The parties shall prepare the proposed Scheduling Order in accordance with the form that
  may be downloaded from the Forms section of the Court’s website, www.cod.uscourts.gov.

         The parties shall file the proposed Scheduling Order with the Clerk’s Office, and in
  accordance with District of Colorado Electronic Case Filing (“ECF”) Procedures, no later than
  five business days prior to the scheduling conference. The proposed Scheduling Order is also
  to be submitted in an editable format (i.e., Word) by email to Magistrate Judge Hegarty at
  hegarty_chambers@cod.uscourts.gov.

          Parties not participating in ECF shall file their proposed Scheduling Order on paper with
  the clerk’s office. However, if any party in this case is participating in ECF, it is the responsibility
  of that party to file the proposed scheduling order pursuant to the District of Colorado ECF
  Procedures.

         Finally, the parties or counsel attending the Scheduling Conference should be prepared to
  informally discuss the case to determine whether early alternative dispute resolution is appropriate.
  There is no requirement to submit confidential position statements/letters to the Court at the
  Scheduling Conference nor to have the parties present.

         Any out-of-state counsel shall comply with D.C. Colo. LAttyR 3 prior to the Scheduling
  Conference.

         The parties are further advised that they shall not assume that the Court will grant the relief
  requested in any motion. Failure to appear at a court-ordered conference or to comply with a court-
  ordered deadline which has not be vacated by the Court may result in the imposition of sanctions.

          In addition, before filing a motion relating to a discovery dispute, the movant must
  request a conference with the Court by submitting an email, copied to all parties, to
  hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015 Amendment. The Court
  will determine at the conference whether to grant the movant leave to file the motion.

                                                     2
Case 1:20-cv-03182-CMA-MEH Document 10 Filed 11/10/20 USDC Colorado Page 3 of 3




         Anyone seeking entry into the Alfred A. Arraj United States Courthouse will be
  required to show a valid photo identification. See D.C. Colo. LCivR 83.2(b).




                                           3
